                Case 24-12480-JTD             Doc 154-1        Filed 11/11/24        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISIE GROUP, INC., et al., 1                       Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Hearing Date:
                                                            December 10, 2024 at 10:00 a.m. (ET)

                                                            Objection Deadline:
                                                            November 25, 2024 at 4:00 p.m. (ET)

                                           NOTICE OF MOTION

        PLEASE TAKE NOTICE that the debtors and debtors in possession in the
above-captioned cases (collectively, the “Debtors”) have filed the Debtors’ Motion for Entry of
Orders (I) (A) Approving Bidding Procedures for the Sale of All or Substantially All of the
Debtors’ Assets, (B) Scheduling an Auction and a Sale Hearing and Approving the Form and
Manner of Notice Thereof, (C) Approving Assumption and Assignment Procedures, and
(D) Granting Related Relief; and (II) (A) Approving the Sale of the Debtors’ Assets Free and Clear
of Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption and Assignment of
Executory Contracts and Unexpired Leases, and (C) Granting Related Relief (the “Motion”) with
the United States Bankruptcy Court for the District of Delaware (the “Court”).


1
     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
             Case 24-12480-JTD        Doc 154-1     Filed 11/11/24     Page 2 of 3




       PLEASE TAKE FURTHER NOTICE that any responses or objections to the relief
requested in the Motion must be filed on or before November 25, 2024 at 4:00 p.m. (ET)
(the “Objection Deadline”) with the United States Bankruptcy Court for the District of Delaware,
824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801. At the same time, you must serve
a copy of the objection upon the undersigned proposed counsel to the Debtors so as to be received
on or before the Objection Deadline.

       PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
MOTION WILL BE HELD ON DECEMBER 10, 2024 AT 10:00 A.M. (ET) BEFORE THE
HONORABLE JOHN T. DORSEY, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 N. MARKET STREET, 5TH FLOOR, COURTROOM
NO. 5, WILMINGTON, DELAWARE 19801.

     PLEASE TAKE FURTHER NOTICE THAT, IF NO OBJECTIONS OR RESPONSES
TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED THEREIN
WITHOUT FURTHER NOTICE OR A HEARING.


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                                               2
           Case 24-12480-JTD   Doc 154-1     Filed 11/11/24   Page 3 of 3




Dated: November 11, 2024
       Wilmington, Delaware

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                               Proposed Co-Counsel to the Debtors and Debtors in
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